


  Appeal by the defendant, as limited by his motion, from a sentence of the Supreme Court, Queens County (Kron, J.), imposed November 10, 2015, upon his plea of guilty, on the ground that the sentence was excessive.
 

  Ordered that the sentence is affirmed.
 

  The defendant’s purported waiver of his right to appeal was invalid (see People v Lopez, 6 NY3d 248, 256 [2006]; People v Medina, 138 AD3d 1148 [2016]; People v Sulsona, 134 AD3d 861 [2015]) and, thus, does not preclude review of his excessive sentence claim. However, the sentence imposed was not excessive (see People v Suitte, 90 AD2d 80 [1982]).
 

  Eng, P.J., Balkin, Roman, Hinds-Radix and Brathwaite Nelson, JJ., concur.
 
